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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                    4:09CR3091
                                             )
              V.                             )
                                             )
JOBITA WILLETTA AVERY,                       )                      ORDER
                                             )
                     Defendant.              )
                                             )


       I am in receipt of a letter from Ms. Avery.

       IT IS ORDERED that:

       1.     The Clerk shall file the letter.

       2.     Treated as a motion, it is denied.1

       DATED this 5 th day of February, 2013.

                                            BY THE COURT:

                                            Richard G. Kopf
                                            Senior United States District Judge




       1
        Ms. Avery is advised that she may seek a certificate of appealability from the United
States Court of Appeals for the Eighth Circuit.
